             Case 2:21-cr-20005-BAF-EAS ECF $86$
                                            No. 1, PageID.1
                                                    %ODNH +DWOHPFiled 12/08/20   Page 1 of
                                                                             7HOHSKRQH 6 
$2 5HY  &ULPLQDO&RPSODLQW            6SHFLDO $JHQW         0DWWKHZ 5XPPHO               7HOHSKRQH   

                                         81,7(' 67$7(6 ',675,&7 &2857
                                                               IRUWKH
                                                 (DVWHUQ'LVWULFWRI0LFKLJDQ
                                                                                      Case: 2:20−mj−30509
8QLWHG6WDWHVRI$PHULFD                                                              Assigned To : Unassigned
Y
                                                                                      Assign. Date : 12/8/2020
&KULVWRSKHU 5XVVHOO
0DOLN &RZSHU
                                                                          &DVH1R    Description: RE: SEALED MATTER
                                                                                      (EOB)




                                                   &5,0,1$/&203/$,17

          ,WKHFRPSODLQDQWLQWKLVFDVHVWDWHWKDWWKHIROORZLQJLVWUXHWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI

          2QRUDERXWWKHGDWH V RI               1RYHPEHU               LQWKHFRXQW\RI            Jackson       LQWKH
        (DVWHUQ          'LVWULFWRI       0LFKLJDQ       WKHGHIHQGDQW V YLRODWHG
                   Code Section                                           Offense Description
 86&                                     GLVWULEXWLRQ SRVVHVVLRQ DQG FRQVSLUDF\ WR GLVWULEXWH FRQWUROOHG
                                                       VXEVWDQFHV




          7KLVFULPLQDOFRPSODLQWLVEDVHGRQWKHVHIDFWV
6HH DWWDFKHG DIILGDYLW




✔ &RQWLQXHGRQWKHDWWDFKHGVKHHW

                                                                                          Complainant’s signature

                                                                                     6SHFLDO $JHQW 0DWWKHZ 5XPPHO
                                                                                           Printed name and title
6ZRUQWREHIRUHPHDQGVLJQHGLQP\SUHVHQFH
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV

           December 8, 2020
'DWH                                                                                        Judge’s signature

&LW\DQGVWDWH 'HWURLW 0,                                                    'DYLG 5 *UDQG 8QLWHG 6WDWHV 0DJLVWUDWH
                                                                                           Printed name and title
  Case 2:21-cr-20005-BAF-EAS ECF No. 1, PageID.2 Filed 12/08/20 Page 2 of 6




           $)),'$9,7,168332572)$1 $33/,&$7,21)25
           $ &5,0,1$/&203/$,17$1'$55(67:$55$17

      ,0DWWKHZ5XPPHOEHLQJILUVWGXO\VZRUQKHUHE\GHSRVHDQGVWDWHDV

IROORZV

                   ,1752'8&7,21$1'%$&.*5281'

           ,DPD6SHFLDO$JHQWZLWKWKH86'HSDUWPHQWRI-XVWLFH %XUHDXRI

$OFRKRO7REDFFR)LUHDUPVDQG([SORVLYHV $7) DQGKDYHEHHQVRVLQFH

6HSWHPEHU,DPFXUUHQWO\DVVLJQHGWRWKH'HWURLW)LHOG'LYLVLRQ3ULRUWR

MRLQLQJWKH$7),ZDVHPSOR\HGIRUDSSUR[LPDWHO\HLJKW\HDUVDVD6WDWH3DUROH

$JHQWZLWKWKH0LFKLJDQ'HSDUWPHQWRI&RUUHFWLRQV'XULQJWKDWWLPHIRU

DSSUR[LPDWHO\IRXU\HDUV,ZDVDVVLJQHGWRDPXOWLMXULVGLFWLRQDOWDVNIRUFHPDGH

XSRIIHGHUDOVWDWHDQGORFDOODZHQIRUFHPHQWDJHQFLHV,KDYHSDUWLFLSDWHGLQ

QXPHURXVLQYHVWLJDWLRQVLQYROYLQJILUHDUPVQDUFRWLFVWUDIILFNLQJE\DUPHG

LQGLYLGXDOVIUDXGUREEHULHVDVVDXOWVKRPLFLGHVDQGFULPLQDOVWUHHWJDQJV,KDYH

EHHQWKHDIILDQWRQQXPHURXVIHGHUDOVHDUFKZDUUDQWVDQGIHGHUDOFULPLQDO

FRPSODLQWV,KDYHD%DFKHORU¶VGHJUHHLQFULPLQDOMXVWLFHDQG,DPDJUDGXDWHRI

WKH)HGHUDO/DZ(QIRUFHPHQW7UDLQLQJ&HQWHU&ULPLQDO,QYHVWLJDWRU6FKRRODQG

$7)¶V6SHFLDO$JHQW%DVLF7UDLQLQJVFKRRO

           ,VXEPLWWKLVDIILGDYLWLQVXSSRUW RIDFULPLQDOFRPSODLQWFKDUJLQJWKDW

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  Case 2:21-cr-20005-BAF-EAS ECF No. 1, PageID.3 Filed 12/08/20 Page 3 of 6




5866(//'2%;;;; LQWHQWLRQDOO\GLVWULEXWHG DPL[WXUHDQGVXEVWDQFH

FRQWDLQLQJDGHWHFWDEOHDPRXQWRIKHURLQDVFKHGXOH,FRQWUROOHGVXEVWDQFHLQ

YLRODWLRQRI7LWOH8QLWHG6WDWHV&RGH6HFWLRQ D  

           ,DOVRVXEPLWWKLVDIILGDYLWLQVXSSRUWRIDFULPLQDOFRPSODLQWFKDUJLQJ

WKDWRQRUDERXW1RYHPEHUZLWKLQWKH(DVWHUQ'LVWULFWRI0LFKLJDQ0DOLN

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FRQWDLQLQJDGHWHFWDEOHDPRXQWRIKHURLQDVFKHGXOH,FRQWUROOHGVXEVWDQFHLQ

YLRODWLRQRI7LWOH8QLWHG 6WDWHV&RGH6HFWLRQ D  

           7KLVDIILGDYLWLVEDVHGXSRQLQIRUPDWLRQ,KDYHJDLQHG IURPP\

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HQIRUFHPHQWRIILFHUVDQGRWKHUVZKRKDYHSHUVRQDONQRZOHGJHRIWKHHYHQWVDQG

FLUFXPVWDQFHVGHVFULEHGKHUHLQ 7KHLQIRUPDWLRQVHWIRUWKLQWKLVDIILGDYLWLVLQ

VXSSRUWRIDFRPSODLQWDQGDUUHVWZDUUDQWDQGLVIRUWKHOLPLWHGSXUSRVHRI

HVWDEOLVKLQJSUREDEOHFDXVHWKLVDIILGDYLWWKHUHIRUHGRHVQRWLQFOXGHDOOWKH

LQIRUPDWLRQFROOHFWHGGXULQJWKLVLQYHVWLJDWLRQDQGDERXWZKLFK,DPDZDUH

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           $7)DORQJZLWKVWDWHDQGORFDOODZHQIRUFHPHQWSDUWQHUVLV

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  Case 2:21-cr-20005-BAF-EAS ECF No. 1, PageID.4 Filed 12/08/20 Page 4 of 6




SRVVHVVLRQDQGFRQVSLUDF\WRGLVWULEXWHFRQWUROOHGVXEVWDQFHV DQGDYDULHW\RI

RWKHUIHGHUDODQGVWDWHFULPLQDORIIHQVHV

           2Q RU DERXW 2FWREHU   D /HQDZHH &RXQW\ 6KHULII¶V

'HSXW\'HWHFWLYH DFWLQJ LQ DQ XQGHUFRYHU FDSDFLW\ DORQJ ZLWK ORFDO VWDWH DQG

IHGHUDOODZHQIRUFHPHQWFRQGXFWHGDQXQGHUFRYHUSXUFKDVHRIKHURLQIHQWDQ\OIURP

5866(// LQ WKH FLW\ RI -DFNVRQ 0LFKLJDQ ORFDWHG LQ WKH (DVWHUQ 'LVWULFW RI

0LFKLJDQ  3ULRU WR WKH SXUFKDVH WKH XQGHUFRYHU GHSXW\ 8&  ZDV LVVXHG SUH

UHFRUGHGJRYHUQPHQWIXQGV DQGLQVWUXFWHGWRSXUFKDVHKHURLQIURP5866(//

           7KH 8& SODFHG D SKRQH FDOO WR D QXPEHU XWLOL]HG E\ 5866(// WR

DUUDQJH IRU WKH SXUFKDVH RI QDUFRWLFV KHUHDIWHU UHIHUUHG WR DV WKH 1$5&27,&

3+21(  5866(//DQVZHUHGWKHSKRQHDQG LQVWUXFWHGWKH8&WRPHHWKLPDWD %3

JDVVWDWLRQORFDWHGLQ -DFNVRQ0LFKLJDQ7KH8&GURYHWRWKHDUHDDQGZDLWHGIRU

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JRYHUQPHQWIXQGVLQH[FKDQJHIRUKHURLQIHQWDQ\O2QFH5866(//GHSDUWHGWKH

DUHDWKH8&ZDVIROORZHGEDFNWRDSUHGHWHUPLQHG ORFDWLRQ DQGWXUQHGRYHUWKH

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  Case 2:21-cr-20005-BAF-EAS ECF No. 1, PageID.5 Filed 12/08/20 Page 5 of 6




&KULVWRSKHU5866(//DQGDQLQGLYLGXDOLGHQWLILHGDV0DOLN&2:3(5LQWKHFLW\

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  Case 2:21-cr-20005-BAF-EAS ECF No. 1, PageID.6 Filed 12/08/20 Page 6 of 6




VXEVWDQFHVFRQWDLQHGIHQWDQ\ODQGRWKHUWUDFHVRIFRQWUROOHGVXEVWDQFHVWRLQFOXGH

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